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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA

 SHAMAR JACKSON                         CASE NO.
                                        2:20−cv−07192−DSF−PD
              Plaintiff(s),
       v.                               Order to Show Cause re
 FATT CAT LLC, et al.                   Dismissal for Lack of
                                        Prosecution
             Defendant(s).




      Generally, defendants must answer the complaint within 21 days after
    service or 60 days if the defendant is the United States. Fed. R. Civ. P.
    12(a)(1).
       In this case, FATT CAT LLC failed to plead or otherwise defend within the
    relevant time. The Court orders plaintiff to show cause in writing on or before
    October 16, 2020 why the claims against the non-appearing defendant(s)
    should not be dismissed for lack of prosecution. Failure to respond to this
    Order may result in sanctions, including dismissal for failure to prosecute.

      IT IS SO ORDERED.

 Date: October 2, 2020                       /s/ Dale S. Fischer
                                            Dale S. Fischer
                                            United States District Judge
